
PER CURIAM.
King Solomon House appeals his judgment and sentence entered following his no contest plea to various drug-related offenses, specifically arguing that the trial court erred in denying his motion to suppress because police officers lacked a founded suspicion to stop House and lacked probable cause to arrest him. The trial court did not err in denying the motion to suppress. We, therefore, affirm the judgment and sentence but strike the costs the trial court imposed for the Court Improvement Fund. See Reyes v. State, No. 92-03336, — So.2d - [1995 WL 65502] (Fla. 2d DCA Feb. 15, 1995).
RYDER, A.C.J., and PARKER and ALTENBERND, JJ., concur.
